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             EXHIBIT 22
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                EXHIBIT 19
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January 11, 2024                                                                   Annaleigh E. Curtis
                                                                                         +1 617 526 6694 (t)
Via E-Mail                                                                               +1 617 526 5000 (f)
                                                                           annaleigh.curtis@wilmerhale.com

Karthik Kasaraneni
Paul Hastings
2050 M Street NW
Washington, DC 20036

Counsel:
We write in response to your January 9, 2024 correspondence.
     I.    BioNTech Cannot Delay Resolution of Moderna’s Concerns Regarding
           BioNTech’s Improper Sword-and-Shield Approach to Privilege
        Moderna sent a letter dated December 12, 2023 that addressed its concerns with
BioNTech’s sword-and-shield approach to privilege. Not until December 22, 2023 did BioNTech
substantively respond to Moderna. See 2023.12.22 K. Kasaraneni Letter. Also on December 22,
2023, BioNTech raised, for the first time, concerns with Moderna’s privilege assertions regarding
two documents: MOD_000282515 and MOD_000332132. See 2023.12.22 R. Meuth Email.
Following subsequent correspondence and a meet and confer on January 4, 2024, Moderna, on
January 8, 2024 sent a letter, that, inter alia, stated what was evident from the meet and confer—
that the parties are at an impasse on BioNTech’s sword-and-shield approach to privilege—and
responded to the questions BioNTech raised on the meet and confer regarding MOD_000282515
and MOD_000332132.
       On January 9, 2024 BioNTech responded. Instead of addressing Moderna’s concerns
regarding BioNTech’s sword-and-shield approach to privilege or agreeing that the parties are at an
impasse on this issue, BioNTech stated that Moderna “has failed to address key questions . . . with
regard to Moderna’s issue with BioNTech’s withholding of privileged documents” that were
purportedly raised in BioNTech’s December 22 Letter and during the January 4 meet and confer.
2024.01.09 K. Kasaraneni Email. Tellingly, BioNTech did not include any such key questions.
BioNTech’s email also incorrectly states that Moderna raised “several new assertions” in the meet
and confer, yet does not identify any new assertions.
        BioNTech, did, however, respond to Moderna’s answers regarding MOD_000282515 and
MOD_000332132, including requesting another meet and confer on January 10 or January 11 or
confirmation that the parties are at impasse on BioNTech’s issues. BioNTech has been aware of
Moderna’s concerns with its sword-and-shield privilege approach since December 12. After nearly
a month BioNTech refuses to confirm that the parties are at impasse. Instead, BioNTech has
consistently delayed responding and now suggests there is some information it has yet to provide,
but will do so soon, yet has demanded prompt responses from Moderna on issues BioNTech has
raised. This is improper. BioNTech cannot ignore or deprioritize the concerns Moderna raised
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consideration of other privileged information and communications with Dr. de Fougerolles, we
have confirmed that the MOD_000332132 document requests or reflects legal advice or analysis
regarding intellectual property analysis or protection from outside counsel, including          ,
and has been appropriately withheld in full. We are unable to disclose more information beyond
what is already disclosed on the privilege log without disclosing privileged information. Moderna
reserves the right to submit additional information supporting our privilege claim for in camera
review to the extent necessary.
        To the extent that this correspondence (as well as our prior correspondences on the matter)
do not resolve BioNTech’s concern, it is Moderna’s position that the parties are at an impasse.
Sincerely,

/s/ Annaleigh E. Curtis

Annaleigh E. Curtis
